Case 3:07-cr-30136-DRH-PMF    Document 551     Filed 09/23/10   Page 1 of 2   Page
                                  ID #1821




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AMERICA,

Plaintiff,

v.

RAUL RICARDO TERAN,

Defendant.                                              No.07-30136-DRH




                                    ORDER

HERNDON, Chief Judge:




             Before the Court is Defendant Teran’s motion for continuance (Doc.

550) of sentencing. Specifically, Defendant Teran has asked for a thirty (30) day

continuance of his sentencing date currently set for September 24, 2010 because

Defendant’s counsel has only recently discovered that he has objections to the

Presentence Investigation Report. The Government has no objection to the

continuance. Based on the reasons set forth in the motion, the Court GRANTS

Defendant’s Motion for Continuance (Doc. 550) and CONTINUES the hearing set for

September 24, 2010 until October 22, 2010 at 10:00 a.m.
Case 3:07-cr-30136-DRH-PMF     Document 551       Filed 09/23/10   Page 2 of 2   Page
                                   ID #1822



            Defendant’s deadline for filing objections to the presentence report is

now extended until October 8, 2010. Any objections not filed on or before October

8, 2010 will be deemed waived.

            IT IS SO ORDERED.

            Signed this 23rd day of September, 2010.



                                            /s/    DavidRHer|do|
                                            Chief Judge
                                            United States District Court




                                   Page 2 of 2
